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 1
                                UNITED STATES DISTRICT COURT
 2                            SOUTHERN DISTRICT OF CALIFORNIA
 3
     MS. L, et al.,                                     Case No. 18cv428 DMS MDD
 4
 5                    Petitioners-Plaintiffs,
                                                        JOINT STATUS REPORT
 6         vs.
 7
   U.S. IMMIGRATION AND CUSTOMS
 8 ENFORCEMENT, et al.,
 9
                      Respondents-Defendants.
10
11
12         The Court ordered the parties to file a joint status report (JSR) by 3:00 pm on

13 August 14, 2019, in anticipation of the status conference scheduled at 1:00 pm on
14
     August 16, 2019. The parties submit this joint status report in accordance with the
15
16 Court’s instruction.
17 I.      DEFENDANTS’ POSITIONS
18
        A. Update on Reunifications for the Original Class Period
19
20         As of August 13, 2019, Defendants have discharged 2,784 of 2,814 possible

21 children of potential class members for the original class period. That is, Defendants
22
   have discharged 2,784 of the 2,814 possible children of potential class members who
23
24 were in the care of the Office of Refugee Resettlement (ORR) as of June 26, 2018.
25 See Table 1: Reunification Update. This is an increase of six discharges reported in
26
   Table 1 since the JSR filed on July 11, 2019. See ECF No. 432. The six children had
27
28

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     parents who are out of the class, and were discharged under other appropriate
 1
 2 circumstances, such as discharges to sponsors.
 3
           Currently, there is one child of a class member from the original class period
 4
 5 who remains in ORR care and is proceeding towards reunification or other
 6 appropriate discharge. This child has a parent who departed from the United States,
 7
     but the Steering Committee has advised that resolution of parental preference will
 8
 9 be delayed. Defendants are supporting the efforts of the Steering Committee to
10 obtain a statement of intent from the parent. Once Defendants receive notice from
11
     the Steering Committee, Defendants will either reunify the child or move him into
12
13 the TVPRA sponsorship process, consistent with the intent of the parent.
14         The current reunification status for the 2,814 children ages 0 through 17 for
15
     the original class period, who have been the focus of Defendants’ reporting to date,
16
17 is further summarized in Table 1. The data in Table 1 reflects approximate numbers
18 on these children maintained by ORR at least as of August 13, 2019. These numbers
19
   are dynamic and continue to change as more reunifications, determinations on class
20
21 membership, or discharges occur.
22
23
24
25
26
27
28

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                              Table 1: Reunification Update
 1
                                                         Phase 1   Phase 2
 2                     Description                       (Under 5) (5 and Total
                                                                   above)
 3   Total number of possible children of potential
     class members                                      107         2707      2814
 4
                                    Discharged Children
 5   Total children discharged from ORR care:           107         2677      2784
 6   • Children discharged by being reunified with      82          2085      2167
        separated parent
 7
     • Children discharged under other appropriate
 8      circumstances (these include discharges to
        other sponsors [such as situations where the    25          592        617
 9
        child’s separated parent is not eligible for
10      reunification] or children that turned 18)
11                        Children in ORR Care, Parent in Class

12   Children in care where the parent is not eligible
     for reunification or is not available for              0        1          1
13   discharge at this time:

14   • Parent presently outside the U.S.               0             1          1
           o Steering Committee has advised that       0             1          1
15            resolution will be delayed
16   • Parent presently inside the U.S.                0             0          0
           o Parent in other federal, state, or local  0             0          0
17
              custody
18         o Parent red flag case review ongoing –     0             0          0
              safety and well being
19
                       Children in ORR Care, Parent out of Class
20   Children in care where further review shows
21   they were not separated from parents by DHS       0             5          5

22   Children in care where a final determination
     has been made they cannot be reunified
     because the parent is unfit or presents a danger       0        9          9
23   to the child
24   Children in care with parent presently departed
     from the United States whose intent not to             0        13         13
25   reunify has been confirmed by the ACLU
26
27
28

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     Children in care with parent in the United
 1   States who has indicated an intent not to
     reunify                                                  0            1         1
 2
 3   Children in care for whom the Steering                   0            1         1
     Committee could not obtain parental preference
 4
 5      B. Update on Removed Class Members for the Original Class Period
 6         The current reunification status of removed class members for the original
 7
     class period is set forth in Table 2 below. The data presented in this Table 2 reflects
 8
 9 approximate numbers maintained by ORR as of at least August 13, 2019. These
10 numbers are dynamic and continue to change as the reunification process moves
11
   forward.
12
13                  Table 2: Reunification of Removed Class Members
14    REUNIFICATION REPORTING METRIC                  NO.                   REPORTING
      PROCESS                                                               PARTY
15    STARTING
      POPULATION    Children in ORR care with parents 15                    Defs.
16                  presently departed from the U.S.
17
      PROCESS 1:
18    Identify & Resolve Children with no “red flags” for             15    Defs.
      Safety/Parentage   safety or parentage
19    Concerns
20    PROCESS 2:              Children with parent contact
      Establish Contact       information identified                  15    Defs.
21    with Parents in
      Country of Origin       Children with no contact issues
22                            identified by plaintiff or defendant    15    Defs. & Pls.
23                            Children with parent contact
                              information provided to ACLU by         15    Defs.
24                            Government
25    PROCESS 3:              Children for whom ACLU has
26    Determine               communicated parental intent for        13    Pls.
                              minor:
27
28

                                               4                               18cv428 DMS MDD
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     Parental Intention
 1   for Minor               • Children whose parents           13   Pls.
                               waived reunification
 2
                             • Children whose parents
 3                                                              0    Pls.
                                chose reunification in
 4                              country of origin
                             • Children proceeding outside      0    Pls.
 5
                                the reunification plan
 6                        Children for whom ACLU has not
                          yet communicated parental intent      1    Pls.
 7                        for minor:
                             • Children with voluntary
 8                                                              0    Defs.
                                departure orders awaiting
 9                              execution
                             • Children with parental
10
                                intent to waive reunification   0    Defs.
11                              documented by ORR
12                           • Children whose parents
                                ACLU has been in contact        0    Pls.
13                              with for 28 or more days
14                              without intent determined
                          Children whose parents steering
15                        committee could not obtain            1    PIs
                          parental preference
16
     PROCESS 4:          Total children cleared Processes 1-
17   Resolve             3 with confirmed intent for            0    Pls.
     Immigration         reunification in country of origin
18   Status of Minors to
     Allow                  • Children in ORR care with
19   Reunification              orders of voluntary             0    Defs.
20                              departure
                            • Children in ORR care w/o
21                              orders of voluntary             0    Defs.
22                              departure
                                 o Children in ORR care
23                                  whose immigration           0    Defs.
24                                  cases were dismissed
25
26
27
28

                                           5                           18cv428 DMS MDD
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          C. Update Regarding Government’s Implementation of Settlement
 1
             Agreement
 2
             SETTLEMENT                       DESCRIPTION                             NUMBER
 3              PROCESS
         Election Forms 1                Total number of executed              410 (238 Parents/172
 4                                       election forms received                    Children)2
                                         by the Government
 5                                          • Number who elect                 251 (137 Parents/114
                                                to receive                           Children)
 6                                              settlement
                                                procedures
 7                                          • Number who                       159 (101 Parents/58
                                                waive settlement                    Children)3
 8                                              procedures
 9       Interviews                      Total number of class                            1474
                                         members who received
10                                       interviews
                                            • Parents who                                  76
11                                              received
                                                interviews
12                                          • Children who                                 71
                                                received
13                                              interviews
         Decisions                       Total number of CFI/RFI                           66 5
14                                       decisions issued for
                                         parents by USCIS
15
16
17
18   1
      The number of election forms reported here is the number received by the Government as of August 6,
     2019.
19   2
       The number of children’s election forms is lower than the number of parent election forms because in
     many instances a parent electing settlement procedures submitted an election form on his or her own behalf
20   or opposing counsel e-mailed requesting settlement implementation for the entire family, but no separate
     form was submitted on behalf of the child.
21
     3
       The number of children’s waivers is lower because some parents have submitted waivers only for
22   themselves and some parents who have waived reunification also waived settlement procedures and have
     therefore not provided a form for the child.
23   4
       Some individuals could not be interviewed because of rare languages; these individuals were placed in
     Section 240 proceedings. This number includes credible fear and reasonable fear interviews, as well as
24   affirmative asylum interviews.
25   5
       This number is the aggregate of the number of parents whose negative CF/RF determinations were
     reconsidered, number of parents whose negative CF/RF determination was unchanged, and individuals who
26   were referred to Section 240 proceedings without interview because of a rare language. This number
     excludes 12 cases where a parent already had a Notice to Appeal from ICE or was already ordered removed
27   by an immigration judge (which are included in the interview totals).

28

                                                         6                                      18cv428 DMS MDD
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                                               • Number of parents                          66 6
 1                                                determined to
                                                  establish CF or RF
 2                                                upon review by
                                                  USCIS
 3                                             • Number of parents                           0
                                                  whose CF or RF
 4                                                finding remains
                                                  negative upon
 5                                                review by USCIS
                                           Total number of CFI                              73 7
 6                                         decisions issued for
                                           children by USCIS
 7                                             • Number of                                  73 8
                                                  children
 8                                                determined to
                                                  establish CF by
 9                                                USCIS
                                               • Number of                                   0
10                                                children
                                                  determined not to
11                                                establish CF by
                                                  USCIS
12                                         Total number of                                   4
                                           affirmative asylum
13                                         decisions by USCIS
                                               • Number of parents                           1
14                                                granted asylum by
                                                  USCIS
15                                             • Number of parents                           0
16                                                referred to
                                                  immigration court
17                                             • Number of                                   19
                                                  children granted
18                                                asylum by USCIS

19
20
21
     6
      This number includes parents who received positive CF/RF determinations upon reconsideration, parents
22   who received a Notice to Appear based on their child’s positive CF determination, and parents who were
     placed in Section 240 proceedings due to a rare language.
23
     7
      This number is the aggregate of the number of children who received a positive CF determination, the
24   number of children who received a negative CF determination, and children who were referred to Section
     240 proceedings without interview because of a rare language.
25   8
       This number includes children who received a positive CF determination, children who received a Notice
     to Appear as a dependent on their parent’s positive CF determination, and children who were placed in
26   Section 240 proceedings due to a rare language.
27   9
         This number includes children granted asylum as a dependent on their parent’s asylum application.

28

                                                          7                                       18cv428 DMS MDD
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                                               • Number of                                    2 10
 1                                                 children
                                                   referred/returned
 2                                                 to immigration
                                                   court
 3
      Removals                              Number of class                           101 Parents11
 4                                          members who have been
                                            returned to their country
 5                                          of origin as a result of
                                            waiving the settlement
 6                                          procedures

 7
 8             On June 3, 2019, Defendants received re-transmitted Settlement Election
 9
     Forms for 39 children who had resided at the Dilley Family Residential Center
10
11 (FRC) and Defendants have now added those to the tracker. This yields a total of 39
12 adult forms served and 40 children forms served at the Dilley FRC—with two forms
13
     manually added into tracking for families that had two children—for a combined
14
15 total of 79 forms served at the Dilley FRC. To the extent any remaining discrepancy
16 exists in the numbers of Settlement Benefits Election Forms transmitted and
17
     received, Defendants ask that the Plaintiffs provide them with a list of forms they
18
19 believe have not been received and processed so that Defendants can cross-check
20 with their data.
21
22
23
24
25
26   10
          This number includes children referred/returned to immigration court as the principal asylum applicant.
27   11
          This number is as of August 6, 2019.

28

                                                           8                                     18cv428 DMS MDD
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           D. Parents Who ICE Records Reflect Have Absconded After Being Released
 1
 2           Absconders                         Number of Parents    17112
                                                who absconded from
 3                                              enrollment in ATD
                                                (Alternatives To
 4                                              Detention)
 5
           E. Update Regarding Identification of Expanded Class Members
 6
 7             On April 25, 2019, the Court approved Defendants’ Plan for identifying

 8 members of the expanded class. Since that time, Defendants have produced 4 batches
 9
   of information regarding the expanded class, leaving 2 that remain to be produced.
10
11 Defendants will produce these final two batches on a rolling basis, and expect to
12 complete this production in the near future barring any unforeseen complications.
13
     F. Government Processes, Procedures, and Tracking, for Separations Since
14      June 26, 2018.
15
            1. Data Requested by Plaintiffs
16
17      Defendants are providing Plaintiffs updated reports containing information
18 regarding parents and children separated since the Court’s June 26, 2018
19
   preliminary-injunction order on the Friday following the filing of each JSR. The
20
21 parties have discussed amending this schedule so that Defendants will produce these
22 updated reports on a monthly basis.
23
24
25
26
27   12
          This information is current as of August 9, 2019.

28

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              2. Processes and Procedures
 1
 2         Defendants provided a summary outline to the Court and to Plaintiffs
 3
     memorializing the processes, procedures, tracking, and communication between the
 4
 5 agencies that have been adopted by the agencies since June 26, 2018. The outline
 6 also included an overview of the options for separated parents and children to obtain
 7
     information about reunification options.
 8
 9         The parties have conferred on the matter since then. To summarize just the

10 most recent conferrals: On July 11, 2019, Defendants provided a comprehensive
11
     response to Plaintiffs’ most recent comments, and requested that the parties schedule
12
13 a follow-up meet and confer on these issues once Plaintiffs have reviewed
14 Defendants’ response. On July 18, the parties met and conferred regarding
15
     Defendants’ responses. Plaintiffs sent a list of follow up questions, to which
16
17 Defendants responded on July 26. Plaintiffs then sent follow-up questions to
18 Defendants’ responses on August 6, to which Defendants responded on August 12.
19
   Defendants expect to provide additional information shortly, and the parties can
20
21 continue to discuss these issues in an effort to reach final resolution.
22
23
24
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 1 II.    MS. L. PLAINTIFFS’ POSITION
 2    A. Steering Committee Outreach to Sponsors of Children of Expanded Class
         Members
 3
 4        As of the date of this Joint Status Report, Defendants have provided
 5 Plaintiffs with four lists of information concerning a total of 966 children of
 6 expanded class members. For 833 of these children, the information in the
 7 government’s production includes a phone number apparently for the child’s
 8 sponsor and/or their parent. The Steering Committee has been working steadily to
 9 call these phone numbers in order to reach as many parents and sponsors in this
10 group as possible. As of August 14, the Steering Committee had attempted
11 telephonic outreach to the families of 707 of these 833 children, or 85% of families
12 for whom telephonic contact can presently be attempted based on the information
13 the government has provided.
14
      B. Availability of Phone Numbers for Separated Parents
15
16        On August 2, the Steering Committee wrote to advise the government that
17 for 914 of the 966 children of expanded class members included on the
18 government’s first four lists, the government provided either no phone number for
19 the separated parent, or provided a phone number that is identical to the phone
20 number provided for the child’s sponsor. The Steering Committee indicated that it
21 for many of the cases in which an identical phone number was provided for the
22 parent and sponsor, the phone number was in fact a number for the sponsor and
23 thus did not enable direct contact with the separated parent. On August 9, the
24 government advised the Steering Committee that it does not have any additional
25 contact information for the parents of these children.
26        As a result of the government’s inability to provide phone numbers for most
27 of the separated parents, in order to contact potential expanded class members, the
28

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 1 Steering Committee must first attempt to contact each child’s sponsor and request
 2 from the sponsor a contact phone number for the separated parent. If the sponsor
 3 is reachable at the phone number provided, and if they able to provide contact
 4 information for the separated parent, the Steering Committee then attempts to
 5 contact the separated parent.
 6         The Steering Committee has been pursuing this multi-step process where
 7 necessary, and as of August 14, of the 707 families to whom the Steering
 8 Committee has attempted outreach, the Steering Committee has been successful in
 9 completing phone calls with 503 sponsors and 101 parents. Committee members
10 must frequently make multiple phone calls to reach a single parent or sponsor, so
11 these results reflect an estimated thousands of calls or attempted calls.
12 The Steering Committee continues to conduct outreach to sponsors and parents
13 with the information the government has provided, and is discussing methods of
14 making contact with families for whom no phone contact information has been
15 provided.
16
       C. Additional Lists of Children of Expanded Class Members
17
18         On August 6, the government indicated to Plaintiffs that two additional
19 batches of information pertaining to children of expanded class members would be
20 forthcoming shortly. Plaintiffs look forward to receiving these lists from the
21 government, along with any contact information in the government’s possession
22 for the parents from whom each child was separated.
23
       D. Steering Committee Progress for June 26 Initial Class
24
25         The Steering Committee has successfully contacted and confirmed the
26 preferences of nearly all removed parents with respect to reunifications. The
27 Steering Committee has not received from the government an updated list of
28

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 1 children with removed parents remaining in ORR custody since the government’s
 2 last production on June 7, which formed the basis of Plaintiff’s status update in the
 3 last Joint Status Report dated July 11.
 4         As reported by Plaintiffs in the last Joint Status Report, on June 7, the
 5 Steering Committee has delivered preferences for 17 of the 18 children in the
 6 remaining operative group. The parent of the remaining child is seeking to return
 7 to the United States pursuant to the motion currently pending with the Court, and
 8 the Steering Committee has advised the government that the delivery of a parental
 9 reunification election in this case will therefore be delayed.
10
       E. Children Whose Parents Have Submitted Preferences and Are Still
11        Detained
12
           The Steering Committee continues to meet and confer with the Government
13
     about children who are still in ORR after the Steering Committee has submitted a
14
     final reunification election.
15
           F.    Information-Sharing Proposals
16         The parties continue to meet and confer concerning information-sharing
17 protocols among the agencies and with legal services providers. On Monday,
18 August 13, 2019, the government provided Plaintiffs with their most recent
19 communication concerning the government’s plans to implement various protocols
20 with respect to information sharing, which also included their responses to
21 Plaintiffs’ concerns. Plaintiffs are reviewing that communication and conferring
22 with legal services providers and other stakeholders, and expect to respond to the
23 government soon.
24
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                                              13                              18cv428 DMS MDD
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 1 III.     MMM-Dora Plaintiffs’ Report Regarding Settlement Implementation
 2         The parties continue to work together to implement the settlement agreement approved on
   November 15, 2018. Class counsel are providing the Government with signed waiver forms as
 3 they are received from class members, and class counsel are continuing to work on outreach efforts
   to class members who may qualify for relief under the settlement.
 4
            The parties continue to meet and confer on issues related to settlement implementation as
 5 they arise. The parties held a productive meet and confer on August 6, 2019 to follow up on a
     range of open issues, some of which related to specific situations for individual class members and
 6 others issues of more general applicability.
 7           One issue that remains unresolved—and which has been previously reported in multiple
     status reports—is a discrepancy in the statistics of settlement implementation. As the Court is
 8   aware, the Government has included in the ongoing status reports certain statistics related to
     implementation of the MMM/Dora/Ms. L settlement agreement, including the total number of
 9   executed settlement forms provided to the Government and the number of forms in which class
     members elected to receive settlement procedures. As of the last status report, filed on July 11,
10   2019 (ECF No. 432), class counsel’s internal records reflected that the Government has been
     provided with 20 more forms than what the Government reported. Class counsel raised this
11   discrepancy once again during the meet and confer with the Government on August 6, 2019. The
     issue is still unresolved, as class counsel continue to await the Government’s evaluation and
12   response.
13            Below are the statistics, as August 12, 2019, that class counsel are able to report based on
     their internal records:
14
      Settlement Process        Description                              Number
15
      Election Forms            Total number of executed election        432 (257 parents; 175
16                              forms sent to the Government             children)
                                   • Number who elected to               263 invoke(148
17                                     receive settlement procedures     parents; 115 children)
18                                 • Number who waived                   169 waive (109
                                       settlement procedures             parents; 60 children)
19
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                                                     14                                   18cv428 DMS MDD
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